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 Attorneys for Plaintiff Podium Corporation Inc.


                          IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH


  PODIUM CORPORATION INC.,                              STIPULATION OF DISMISSAL WITH
                                                                  PREJUDICE
          Plaintiff,

  v.                                                        Case No. 2:20-cv-00352-JNP-DAO

  CHEKKIT GEOLOCATION SERVICES                                     Judge Jill N. Parrish
  INC., EUGENE TAGLE, MYLES HIEBERT,                        Magistrate Judge Daphne A. Oberg
  DANIEL FAYLE, LEE KLIMPKE, AND
  EMILY FRANZ-LIEN

          Defendants.


        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff Podium

 Corporation Inc. (“Podium”) and Defendants Chekkit Geolocation Services Inc., Myles Hiebert,

 Daniel Fayle, Lee Klimpke, Eugene Tagle, and Emily Franz-Lien (“Defendants”) (collectively,

 the “Parties”), by and through their counsel of record, hereby stipulate to the dismissal of this

 action with prejudice and in its entirety, with each Party to bear their own attorneys’ fees and costs.

  Dated: October 31, 2023                            /s/ J. Derek Kearl
                                                     Dylan J. Liddiard
                                                     Charles Talpas
                                                     WILSON SONSINI GOODRICH & ROSATI, P.C.
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